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14   Attorneys for Plaintiffs and Class Counsel

15                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
16

17                                                Case No. 15-cv-03504-YGR-JSC

18    CARL WASHINGTON, et al., on behalf of       CLASS ACTION
      themselves and others similarly situated,
19                                                PLAINTIFFS’ NOTICE OF APPEAL
                                Plaintiffs,       AND REPRESENTATION
20                                                STATEMENT
            v.
21                                                Judge: Hon. Yvonne Gonzalez Rogers
      CVS PHARMACY, INC.,
22
                                Defendant.
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      NOTICE OF APPEAL                                           CASE NO. 15-CV-03504-YGR-JSC
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 1             The named-Plaintiffs in the above captioned case, Carl Washington, Dr. Robert Garber, Stephen

 2   Sullivan, Debbie Barrett, Darlene McAfee, Robert Jenks, and Tyler Clark, hereby appeal to the United

 3   States Court of Appeals for the Ninth Circuit from the following Orders: (1) the Judgment on Verdict

 4   rendered on June 23, 2021 by the jury and court and entered on June 24, 2021 (Dkt. 611) and any

 5   preceding, related, or underlying orders, rulings, findings, and conclusions; (2) the Jury Instructions

 6   entered on June 24, 2021 and presented to the jury on June 22, 2021 (Dkt. 610) and any preceding,

 7   related, or underlying orders, rulings, findings, and conclusions; (3) the Verdict Form entered on June

 8   23, 2021 and presented to the jury on June 22, 2021 (Dkt. 609) and any preceding, related, or underlying
 9   orders, rulings, findings, and conclusions; (4) the court’s Pretrial Order No. 1 re: Motions in Limine
10   entered on February 18, 2021 (Dkt. 472) and any preceding, related, or underlying orders, rulings,
11   findings, and conclusions; (5) the Order Granting in Part and Denying in Part Motion For Relief From
12   Case Management Schedule to Permit Plaintiffs to Substitute Dr. Joel W. Hay entered on February 11,
13   2021 (Dkt. 471) and any preceding, related, or underlying orders, rulings, findings, and conclusions; and
14   (6) Pretrial Order No. 4: Including Objections to Deposition Designations; Motion to Strike; Motion to
15   Exclude; Motion to Supplement entered on April 30, 2021 (Dkt. 513) and any preceding, related, or
16   underlying orders, rulings, findings, and conclusions.
17             Plaintiffs’ Representation Statement is attached to this Notice as required by Ninth Circuit Rule
18   3-2(b).

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20   Dated: July 9, 2021                                            Respectfully submitted,

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      NOTICE OF APPEAL                                                      CASE NO. 15-CV-03504-YGR-JSC
          Case 4:15-cv-03504-YGR Document 626 Filed 07/09/21 Page 3 of 5




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     NOTICE OF APPEAL                                    CASE NO. 15-CV-03504-YGR-JSC
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 1                                   REPRESENTATION STATEMENT

 2          Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule 3-2(b),

 3   Plaintiffs-Appellants submit this Representation Statement. The following list identifies all parties to

 4   the action, and their respective counsel by name, firm, address, telephone number, and e-mail.

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 6   Dated: July 9, 2021                            Respectfully submitted,
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